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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   ________________________________
                                    )
   PHILLIS WINDY HOPE REILLY and    )
   MICHAEL P. REILLY                )
                                    )
              Plaintiffs,           )
                                    )
         v.                         )              No. 15-349-REB-CBS
                                    )
   6480 PICKNEY, LLC,               )
   PARKER WALTON, and               )
   CAMP FEEL GOOD, LLC              )
                                    )
              Defendants.           )
   ________________________________ )

                    PLAINTIFFS’ PROPOSED VOIR DIRE QUESTIONS

         Pursuant to REB Civ. Practice Standard V.C.3, Plaintiffs submit this list of

   proposed voir dire questions. Consistent with the Court’s instructions during the pretrial

   conference, Plaintiffs will not ask questions listed below to the extent that they have

   already been asked.

      1. Does anyone know the Plaintiffs—Mrs. Hope Reilly and Michael P. Reilly?

      2. Is anyone familiar with the Meadows at Legacy Ranch, a property development

         outside Colorado City in Pueblo County?

      3. Does anyone know the Defendants—Parker Walton, 6480 Pickney, LLC, and

         Camp Feel Good, LLC?

      4. Does anyone read Colorado newspapers, watch the local news, or listen to local

         new radio?



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     5. Has anyone heard in the media or from anywhere else about the Reillys, Parker

        Walton, or this case?

     6. Does anyone have a background in the construction business?

     7. Is anyone an architect or civil engineer?

     8. Is anyone an attorney?

     9. Do you think that corporations should be required to obey the law like everyone

        else?

     10. Do you think that if a corporation injures someone, it should make things right

        with that person?

     11. Do you think pollution can cause harm to property?

     12. Do you think there are too many lawsuits in general?

     13. Do you think there are too many lawsuits against businesses?

     14. Does anyone work for a business that has been sued? If so, what was the

        outcome?

     15. Does anyone think that there is too much environmental regulation?

     16. Does anyone work in the marijuana industry?

     17. Does anyone have a close friend or relative who works in the marijuana industry?

     18. Does anyone have a financial interest in any marijuana companies?

     19. Who here thinks that marijuana should be legalized federally?

     20. Does anyone think that all drugs should be legal?

     21. Does anyone think that alcohol is worse for you than marijuana?

     22. Who thinks that Colorado has become a better place after legalizing marijuana?


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     23. Who here knows the difference between the indica and sativa strains of

        marijuana?

     24. Who here knows who Ricardo Baca is?

     25. Did anyone hear about Nebraska and Oklahoma suing Colorado for legalizing

        marijuana? If so, did you think that was a silly lawsuit?

     26. Who lives in a community that has tried to restrict the sale of marijuana, whether

        through zoning or otherwise?

     27. Who has relatives, friends, or neighbors who are against legalization of

        marijuana?

     28. Who here has driven down Interstate 70 on the west side of Denver and noticed

        a marijuana smell coming from some of the warehouses?

     29. Has anyone here ever been sued? If so, did you think the court reached the right

        result and treated you fairly?

     30. Who here is passionate about the outdoors?

     31. Does anyone work for an environmental organization?

     32. Does anyone go horseback riding?

     33. Who here recycles?

     34. Who here is a homeowner?

     35. Does anyone here keep a garden?

     36. Does anyone have children or grandchildren who play outside?

     37. Does anyone live in a neighborhood that has had pollution problems?




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     38. Does anyone live near a marijuana growing facility or dispensary? If so, has the

        marijuana facility made your neighborhood better?

     39. Does anyone live near a large manufacturing facility? If so, has the

        manufacturing facility made your neighborhood better?

     40. Has anyone ever been involved in a property dispute?

     41. Does anyone have bad neighbors?

     42. Does anyone live in a house that is surrounded by open land?

     43. Has anyone been involved in an auto accident where the other driver was

        intoxicated? If so, was the driver intoxicated with marijuana?

     44. Does anyone have a close friend or relative who was involved in an auto

        accident where the other driver was intoxicated with marijuana?

     45. Does anyone think that there have been more problems with intoxicated drivers

        in Colorado since legalization?

     46. Has anyone ever been convicted of a crime involving drugs?

     47. Does anyone here watch Law & Order?

     48. Who is familiar with the term used in criminal cases, “beyond a reasonable

        doubt”?

     49. Does anyone think that the plaintiffs in a civil case should be required to prove

        their case beyond a reasonable doubt?

     50. Does anyone think that in a civil case, the plaintiffs should be held to a higher

        standard than the defendants?




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      51. Would anyone have trouble following the Court’s instructions about how

         believable the plaintiffs’ case must be for you to decide in their favor?

      52. Is there anything I have not asked about that might make you uncomfortable

         being neutral in this case?




   Date: October 22, 2018                       Respectfully submitted,

   Of Counsel:                                     s/ David H. Thompson
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 22, 2018, I electronically filed the foregoing with

   the Clerk of Court using the CM/ECF system, which will send notification of such filing to

   all attorneys who have entered appearances in this case.


                                                    s/ David H. Thompson
                                                    David H. Thompson




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